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                IN THE CIRCUIT COURT OF MONTGOMERY COUNTY,ALABAMA

 RODNEY RUDOLPH d/b/a "R"                 )
 ENTERPRISE;                              )
                                          )
        Plaintiffs,                       )
                                          )
 vs.                                      )       CASE NO. CV 2019-
                                          )
 DAVID KING, individually;                )       JURY TRIAL DEMANDED
 MICHELLE BELCHER, individually;          )
 FSI EVERGREEN ESTATES PROPERTY, LLC; )
 MERITUS COMMUNITIES, LLC; MERITUS )
 PROPERTY MANAGEMENT,LLC; and             )
 FICTITIOUS DEFENDANTS "A","r,            )
           "r and "r, whether             )
 singular or plural, are                  )
 those persons' corporations, or entities )
 whose wrongful conduct caused or         )
 contributed to cause the occurrence made )
 the basis of this Iawsuit and who are
 otherwise unknown to Plaintiff at this
 time but whose true and correct names
 will be substituted by amendment
 when ascertained,

         Defendants.

                                         COMPLAINT

                                   Statement of the Parties

         1.    Plaintiff Rodney Rudolph, d/b/a "R" Enterprise, hereinafter referred to as

"Rudolph" and/or "Plaintiff, is over the age of nineteen and is a resident of Montgomery

County, Alabama.

         2.    Defendant David King, individually, employee of Evergreen Estates, hereinafter

referred to as "Kine and/or "Defendane is a resident of Alabama and over the age of nineteen

years.


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       3.      Defendant Michelle Belcher, individually, employee of Evergreen Estates,

hereinafter referred to as "Belcher and/or "Defendane is a resident of Alabama and over the

age of nineteen years.

       4.      Defendant FSI Evergreen Estates Property, LLC, hereinafter referred to

"Evergreen Estates" and/or "Defendant", is a foreign limited liability company with its principal

 place of business in Bloomfield Hills, Michigan but doing business by agent in Montgomery

 County, Alabama.

       5.      Defendant Meritus Property Management, LLC, hereinafter referred to "Meritus

 Propertr and/or "Defendant", is a foreign limited liability company with its principal place of

 business in Bloomfield Hills, Michigan but doing business by agent in Montgomery County,

 Alabama.

       6.      Defendant Meritus Communities, LLC, hereinafter referred to "Meritus

 Communitiee and/or "Defendant", is a foreign limited liability company with its principal place

 of business in Bloomfield Hills, Michigan but doing business by agent in Montgomery County,

 Alabama.

       7.      Fictitious Defendants "A","r,       "D","E" and "r whether singular or plural,
 are those persons, corporations, or entities whose wrongful conduct caused or contributed to

 cause the occurrence rnade the basis of this lawsuit and who are otherwise unknown to Plaintiff

 at this time but whose true and correct names will be substituted by amendment when

ascertained.

       8.      The term "Defendant?' is made to refer to all real and Fictitious Defendants

described in the style of this Complaint.


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                                     Statement of the.Facts

        9.     In May 2017, the Plaintiff entered into an agreement with the Defendants to set

 up mobile homes in Alabama.

        10.    The contractor required the Plaintiff to set up the mobile home and submit

invoices for payment of the same.

        11.   The Plaintiff complied with the terms of the contract and began setting up mobile

 homes.

        12.    The Defendant paid the invoices of approximately $34,000.00. However, the

 Plaintiff turned in over $150,000.00 in invoices.

        13.    The Defendants, including David King and Michelle Belcher, through its agents,

 servants and employees made statements to entice the Plaintiff to perform the work, which he

 did.

        14.    David King and Fictitious Defendants were employed by Evergreen Estates and

 were acting within the line and scope of their employment and/or were acting as the agent,

 servant and/or employee of the Defendants and Fictitious Defendants.

        15.    Michelle Belcher and Fictitious Defendants were employed by Evergreen Estates

and were acting within the line and scope of their employment and/or were acting as the agent,

servant and/or employee of the Defendants and Fictitious Defendants.

        16.    The Plaintiff hand delivered all invoices to Evette (last name unknown), an

employee of the Defendants, at Evergreen Estates.

        17.    The Plaintiff furnished the Defendants and Fictitious Defendants with the

invoices. The payments were slow to the Plaintiff and Plaintiff asked the Defendant to purchase


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the materials and he would just charge for labor. Evette (last name unknown) stated "No, we

can't do that. The checks are being processed."

       18..   The Defendant, Michelle Belcher, replaced Evette (last name unknown).

Defendant Michelle Belcher made a copy of all outstanding invoices and stamped the copies.

Defendant Belcher assured Plaintiff Rudolph that he would be paid and to continue working.

       19.    The Defendants statements that the Plaintiff would be paid for his work were

false, misleading and not true.

       20.    The Plaintiff relied upon the false, misleading statements of the Defendants to his

 detriment and has suffered damages.

       21.    In September 2017, Defendants stopped paying their obligation under the

 contract.

       22.    The sales contract called for the Defendants to pay money to the Plaintiff for

setting up mobile homes.

       23.    Defendants purchased materials to perform the work, hired and paid employees

 to perform the work under the contract and performed under the contract.

       24.    As a result of the Defendants' conduct, the Plaintiff was injured as follows:

              (a)    The Plaintiff has had to hire attorneys to pursue litigation for the
                     collection of the unpaid monies;

              (b)    The Plaintiff has not received monies as a direct result of the
                     Defendants' actions;

              (c)    The Plaintiff has suffered mental anguish and emotional stress and will
                     continue to do so in the future; and

              (d)    The Plaintiff has not received money as a direct result of the
                     Defendants' actions;


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             (e)      The Plaintiff has lost money and interest on said money by the Defendants
                      failure to pay said invoices; and

             (f)      The Plaintiff has otherwise been injured and damaged.

                                          COUNT ONE
                                      (Breach of Contract)

      25.     Plaintiff realleges all prior paragraphs of the Complaint as if set out here in full.

      26.     At all times herein, the Plaintiff complied with the terms of the contract, but the

Defendant did not.

      27.    The Defendants were under a contractual obligation with the Plaintiff to pay the

invoices under the terrns of the contract.

      28.    The Defendants breached their contractual obligations by failing and refusing to

abide by the contract.

      29.    As a result of the Defendants' conduct, the Plaintiff was injured as stated in

paragraph 24 above.

      WHEREFORE, premises considered, Plaintiff demands judgment against the Defendants

jointly and/or severally, in such amount of compensatory and punitive damages as a court

deems proper, and awards attorney's fees, costs, and such other, more general and equitable

relief as is deemed proper by the Court.

                                         COUNT TWO
                               (Fraud/ Fraudulent Suppression)

      30.    Plaintiff realleges all prior paragraphs of the Complaint as if set out here in full.

      31.    The Defendants intentionally represented to the Plaintiff that the Defendants

would perform under the contract at all material times hereto.



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      32.     Defendants misrepresented to the Plaintiff the amount of money to be paid for

mobile homes being set up and failed to pay invoices submitted for the work.

      33.     All fraudulent activity occurred in Montgomery County.

      34.     The Plaintiff relied upon the statements of the Defendants.

      35.     As a result of the Defendants' conduct, the Plaintiff was injured as stated in

paragraph 24 above.

      WHEREFORE, premises considered, Plaintiff demands judgment against the Defendants

jointly and/or severally, in such amount of compensatory and punitive damages as a court

deems proper, and awards attorney's fees, costs, and such other, more general and equitable

relief as is deemed proper by the Court.

                                        COUNT THREE
                                   (Negligence/Wantonness)

      36.     Plaintiff realleges all prior paragraphs of the Complaint as if set out here in full.

      37.     Defendants negligently and/or wantonly bought more mobile homes for the

Plaintiff to set up without paying Plaintiff.

      38.     Defendants misrepresented to the Plaintiff that he would get full payment for all

work including the extra mobile hornes that were bought.

      39.     The Plaintiff relied upon the misrepresentations of the Defendants, to the

Plaintiffs detriment, and paid money to for all materials used without repayment.

      40.     As a result of the Defendants' conduct, the Plaintiff was injured as stated in

paragraph 24 above.

      WHEREFORE, premises considered, Plaintiff demands judgment against the Defendants,

separately and severally, in such amount of compensatory and punitive damages as a court

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deems proper, and attorneys fees, costs, and such other, more general and equitable relief as

is deemed proper by the Court.

                                          COUNT FOUR
                                     (Fictitious Defendants)

      41.     Plaintiff realleges all prior paragraphs of the Complaint as if set out here in full.

      42.     Fictitious Defendants are those individuals and/or ehtitieS specifically

enurnerated in the caption above whose wrongful conduct caused or contributed to cause the

occurrence made the basis of this lawsuit.

      43.     Fictitious Defendants' wrongful conduct formed the proximate cause and/or

cornbined to form the proximate cause of damages suffered by Plaintiff as stated above.

      WHEREFORE, Plaintiff demands judgment against Fictitious Defendants in such an

amount of compensatory damages as a jury may award, a separate amount of punitive

damages, plus interest and costs in this action.

      RESPECTFULLY submitted this 30th day of April, 2019.


                                                     /s/ Michael G. Strickland
                                                     MICHAEL G.STRICKLAND (STR032)

                                                     /s/ Edward P. Kendall
                                                     EDWARD P. KENDALL(KEN028)


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SERVICE TO:

David King, Individually
4890 Troy Highway
Montgomery, Alabama 36116

Michelle Belcher, Individually
4890 Troy Highway
Montgomery, Alabama 36116

FSI Evergreen Estates Property, LLC
2 North JaCkscin Street, Suite 605
Montgomery, Alabama 36104

Meritus Communities, LLC
2 North Jackson Street, Suite 605
Montgomery, Alabama 36104

Meritus Property Management, LLC
2 North Jackson Street, Suite 605
Montgomery, Alabama 36104




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